
OPINION OF THE COURT
PER CURIAM.
In this appeal by the State it argues that the defendant waived speedy trial and that the court’s Order for Discharge was in error. The defendant was, on two occasions, not ready for trial and an unexcused continuance should have been attributed to the defendant. Fla. R. Crim. P. 3.191(d)(3); Butterworth v. Fluellen, 389 So.2d 968 (Fla. *1591980); Rutledge v. State, 374 So.2d 975 (Fla. 1979); Butler v. Cullen, 253 SO.2d 861 (Fla. 1971); J.B. v. Karda, 436 So.2d 1109 (Fla. 4th DCA 1983); Hernandez v. State, 397 SO.2d 435 (Fla. 3d DCA 1981); Wright v. State, 396 SO.2d 864 (Fla. 3d DCA 1981); Rosenwasser v. Smith, 308 SO.2d 600 (Fla. 3d DCA 1975).
The Order of Dismissal is vacated and the cause is remanded to the trial court for trial.
